Case 2:05-cv-O2361-SHI\/|-dkv Document 22 Filed 08/19/05 Page 1 of 3 Page|D 21

 

IN THE UNITED sTATEs DISTR:CT CoURT F|l.ED BY §§ D.C`.{
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVIS:ON 05 AUG |9 PH 31 35
THO\W\SM.GOULD
CHRISTINE M. BELL d/b/a CLEP.K U,S`{jl;GT;'§:CTCOUHT
ALLEGIANCE MORTGAGE SERVICES, mg §§ ;g ;.W,;§;,A;>HES
ET AL. ,
Plaintiffs,
VS. NO. 05-2361-Ma

INFINITY DATE CORP. , E'I‘ AL. ,

Defendants.

 

ORDER GRANTING MOTIONS TO APPEAR PRO HAC VICE

 

Before the court are the August 5, 2005, motions for
admission pro hac vice of Gerard D. Kelly, Sean P. Burke, and
Rachael B. Niewoehner. Mr. Kelly, Mr. Burke, and Ms. Niewoehner
are members in good standing of the bar of the State Of Illinois
and are admitted to practice before the United States District
Courts for the Northern District of Illinois. Counsel have
obtained and are familiar With the local rules and professional
guidelines of this court. For good cause shown, the motions are
granted and Gerard D. Kelly, Sean P. Burke, and Rachael B.
Niewoehner are admitted to participate in this action as counsel
for defendant First Data Corp.

It is so ORDERED this lg$Lday of August, 2005.

SAMUEL H. M_AYS, JR.
UNITED STATES DIS'I‘RICT JUDGE

This document entered en the dockets§hee§ In omp|ia ce`
/ al
W`lth Fiuie 58 and/or 79(&) FRCP on QS

 

 

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This notice confirms a copy of the document docketed as number 22 in
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